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                       Exhibit 2
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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by                                      *      MDL NO. 2179
   the Oil Rig "Deepwater Horizon"                       *
   in the Gulf of Mexico, on April20, 2010               *      SECTION J
                                                         *
This document relates to:                                *
All Cases and No. 12-970                                 *      Honorable CARL J. BARBIER
                                                         *
                                                         *      Magistrate Judge SHUSHAN
                                                         *
                                                         *
                       REBUTTAL DECLARATION OF WENDY L. BLOOM

           I, Wendy L. Bloom, do hereby declare that the following statements made by me under

oath are true and accurate to the best of my knowledge, information and belief:

                                                 Introduction

           1.      On November 7, 2013, I provided a declaration-in accordance with the Court's

October 25, 2013 Scheduling Order regarding the BEL Remand (Rec. Doc. 11735) 1-to

supplement the factual record regarding the intended meaning of Exhibit 4C as it applies to the

calculation of a claimant's lost variable profits. (Rec. Doc. 11818-1.) My background and

involvement regarding the negotiation of the Economic and Property Damages Settlement

Agreement ("Settlement" or "Agreement"), as amended on May 2, 2012 (Rec. Doc. 6430-1 ), are

detailed in that submission.

           2.      I submit this Rebuttal Declaration to respond to certain statements made in the

declarations submitted by Class Counsel ("Class Counsel" or "PSC") on November 6, 2013.

(Rec. Doc. 11804.)




1
    All "Rec. Doc." numbers refer to MDL 2179.
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                    Response to Class Counsel's November 6, 2013 Submission

         3.      The PSC has submitted declarations from Mr. Herman, Mr. Rice, 2 Mr. Jones, and

Mr. Scott.

         4.      On at least one occasion that I can recall during the negotiations, in August 2011,

Mr. Rice used the term "cash flows" as distinguished from "lost profits."                       Based on this

discussion, I believed that Mr. Rice appreciated the distinction between cash flows and lost

profits. (Rec. Doc. 11818-1 at ~ 12.) Instead of using cash receipts and cash expenditures, the

Parties agreed to use the terms revenue and expenses and to calculate compensation based on a

lost-profits approach.

         5.      Exhibit 4A ensures (if applied correctly) that the Settlement Program accountants

will be provided with the information necessary to examine a claimant's financial records and

make any adjustments necessary to properly reflect revenues and corresponding expenses,

including matching revenues with expenses.              The Parties never discussed or agreed that the

Settlement Program would simply take the financial data as recorded and submitted by the

claimant. 3

        6.       I likewise do not agree with Class Counsel's assertions that the "Documentation

requirements in Exhibit 4A ... were all motivated on BP's part- not by a necessity or desire to

'match' expenses with revenues in cash basis (or other) BEL claims, but - by the desire to

prevent potential fraud." (See, e.g., Rec. Doc. 11804-1 at ~ 17.) It is true that BP was concerned

about potential fraud, but the documentation requirements of Exhibit 4A served other purposes

2
 In Paragraph 7 of Mr. Rice's declaration, Mr. Rice attaches an index of drafts exchanged concerning the BEL
Compensation, Documentation, and Causation Frameworks. This does not include an August 30, 2011 draft
Compensation Framework, which is attached to my November 7 declaration as Exhibit A.

3
  The Parties did not agree that a claimant's compensation would be determined solely upon how a business
claimant recorded its financial data. As stated in my November 7 declaration (Rec. Doc. I 1818-1 at~ I 0), such a
compensation approach would make no sense, and would not comport with Rule 23 from my perspective.




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as well, such as ensuring that the Settlement Program accountants received all the financial

documents necessary to ensure the accuracy of entries on a claimant's P&Ls and to perform the

calculation of lost profits.

        7.       Mr. Rice has included a section entitled "The Vendor Discussions." (Rec. Doc.

11804-4 at p. 16.) These discussions did not involve negotiations between BP and the PSC, but

instead concerned implementation ofterms to which the Pmiies already had agreed.

        8.       For example, Mr. Rice refers to a draft PSC PowerPoint that he sent to Mr.

Godfrey on or about March 5, 2012. 4 (Rec. Doc. 11804-4 at~~ 51-52.) Mr. Rice asserts that the

PowerPoint did not include any references to the matching of revenues and expenses and that BP

did not insist that he add such a reference. (!d. ~52.) Actually, I noticed that the PSC deck was

quite cursory in describing the Exhibit 4C of the BEL Framework. In a reply email to Mr. Rice

and Mr. Fayard dated March 6, 2012 at 2:08a.m., I made a suggestion regarding the page ofPSC

deck entitled, "Business Economic Loss Framework." I wrote, "This section never explains that

compensation is based on comparing Variable Profit in 2010 to the Benchmark Period. It also

does not explain the mechanics of Step 1 and Step 2 although perhaps the PSC prefers not to

include that detail." A copy of my email and selected pages of the draft PSC deck are attached

hereto as Exhibit A. Furthermore, in another email from me to Mr. Rice and Mr. Fayard on

March 6, 2012 at 6:18p.m. with comments on the PSC deck that is attached as Exhibit M to Mr.

Rice's declaration, I responded to this PowerPoint presentation with comments on certain of the

slides, including stating that what was to be measured under the BEL Framework was

"[e]conomic loss." Moreover, the PSC PowerPoint does not state that cash receipts and cash

expenditures would be the basis for determining lost profits, or that claimants with cash-based

4
 Although Mr. Rice includes the March 5, 2012 Power Point under his "Vendor Discussions" section, it is not my
understanding that this PowerPoint was used with the Settlement Program's vendors.
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financial records should be treated differently than those with accrual-based financial records.

And, likewise, nowhere does the PSC state in the PowerPoint that inaccurate and erroneous

financial data could or would be used to compensate for fictitious or nonexistent losses.

       9.      Mr. Rice also includes selected pages of the PSC PowerPoint relating to Exhibit

4B. Notably, Mr. Rice does not include a prior page of PSC deck, page 10, that provide key

points regarding class membership. This page is entitled "Economic Class" and includes these

two bullets "nexus to oil" and "loss". See Exhibit A.

       10.     Additionally, while Mr. Rice contends that "flexibility" was an important point

for him and Mr. Fayard in negotiations (Rec. Doc. 11804-4 at~ 20), I note that Mr. Rice has not

referenced a comment that I relayed for BP to the PSC deck on this topic.          The draft deck

included at page 4 a bullet "Flexibility in Damage Calculations," to which I responded by email,

"Flexibility in Damage Calculations" strikes us as inaccurate given there is a set framework to

use. Perhaps instead "Multiple Options for Benchmark Year(s) Against Which Damage Will Be

Measured." See Exhibit A.

       11.     Mr. Rice also refers to a fifteen-slide PowerPoint that was prepared for an

accounting vendor "tutorial" in May 2012, a document prepared after the execution of the

Settlement Agreement. (Rec. Doc. 11804-4 at~~ 58-63.) I disagree with Mr. Rice's assertions

that the PowerPoint somehow shows that the PSC "never agreed or intended for matching of

expenses to revenue to occur."     (Rec. Doc. 11804-4 at ~ 62.)       Page 3 of this deck states,

"Compensation calculations are based on lost variable profit with no adjustment or offset for

mitigated fixed costs." (Rec. Doc. 11804-4 at Exhibit Q, emphasis added.) Also, one of the

slides he cites highlights the Parties' focus on compensating claimants for lost profits. Slide 10

states: "Compensation is based on the difference between the company's 2010 actual profit post-




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DWH Spill and expected profit in the absence ofthe DWH Spill." (Rec. Doc. 11804-4 at Exhibit

Q.) That is consistent with my understanding of Exhibit 4C, its plain language and meaning, and

the Parties' joint goal as discussed during negotiations of determining whether there were any

actual lost profits caused by the oil spill and compensating claimants for those losses.         The

PowerPoint statement, however, is inconsistent with the PSC's current notion that a claimant can

seek to recover for differences in cash flows or for claims other than lost profits caused by the oil

spill. Of course, not every issue the accountants would address in implementing the Settlement

Agreement was detailed in this document, for this was an introductory session.

       12.     This deck is also relevant to Mr. Rice's claims regarding the BEL documentation

requirements. (Rec. Doc. 11804-4 at ,!20.) Page 4 ofthis deck also references the fact that BEL

claimants would be required to provide backup reports and other information that would enable

adjustment of financial statements for accuracy, not simply production of profit and loss

statements.   This page states, "Documentation requirements designed to utilize reports and

information generally available in the normal course of business." Page 15 identifies claimants

will need to provide "Other documents as necessary based on claim."

       13.     Mr. Rice cites a portion of an email he sent to PwC accountant Chuck Hacker on

the evening of April 15, 2012, to suggest that the PSC did not agree to match revenues and

expenses. (Rec. Doc. 11804-4 at~~ 54-56.) I did not read Mr. Rice's email to suggest that the

PSC did not agree to match revenues and expenses.           As I explained in my declaration of

November 7, after the Parties had already agreed to Exhibit 4C, Mr. Hacker proposed a

methodology-similar to the methodology BP proposed near the beginning of negotiations-to

calculate Step 1 of the compensation framework more efficiently. Mr. Rice responded to Mr.

Hacker's suggestion: "This is not agreed to." (Rec. Doc. 11804-4 at~ 56 & Ex. 0.) Based on




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this response, Mr. Rice now asserts that his response suggested that he rejected the concept of

matching. This is not, and was not at the time, how I understood Mr. Rice's response. My

reading of Mr. Rice's response is that he was (correctly) noting that the Parties had not agreed to

the methodology that Mr. Hacker suggested. I do not, and did not at the time, understand Mr.

Rice's response to suggest that matching would not occur under the Agreement.                              Had I

understood it to call into question whether the Claims Administrator should engage in the

matching of revenues with corresponding expenses, I would have objected. 5 As noted, Mr.

Hacker said his proposed method had "the potential of more accurately matching revenue with

expenses." (Rec. Doc. 11818-1 at~ 28 & Ex. M (emphasis added).)

         14.     Mr. Rice also has included in his declaration various assertions on Issues

unrelated to matching. In response to Mr. Rice's statements in Paragraphs 19 and 20 of his

November 6 declaration, BP's position regarding class membership was clear from the earliest

negotiation sessions.        Mr. Rice raised two different class membership scenarios during

negotiations.    The first involved the issue of whether the class could include businesses or

individuals not injured in 2010 but that might be injured in the future, e.g., in 2015 if a hurricane

were to stir up oil and there would be some sort of re-oiling of parts of the Gulf. The second

concerned Mr. Rice's question of whether the class definition could include businesses or

individuals who "claimed" economic loss. In both instances, Mr. Godfrey expressed BP's view

that class membership had to be limited to only those individuals or entities that experienced

actual injury or loss as a result of the Deepwater Horizon incident. Ultimately, the Parties agreed

that businesses seeking to file BEL claims must meet the description of the Economic Damage


5
  It is important to note that PwC met with the Parties separately to discuss various issues relating to Settlement
implementation, and therefore BP can only respond to the contents of those email exchange between the PSC and
PwC received by BP.




                                                        6
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Category, "Loss of income, earnings or profits suffered by Natural Persons or Entities as a result

of the DEEPWATER HORIZON INCIDENT, subject to certain Exclusions."                        (Settlement

Agreement § 1.3.1.2)



       I make this Declaration under penalties of perjury pursuant to 28 U.S.C. § 1746, and I

state that the facts set forth herein are true to the best of my knowledge, belief, and information.




                                                      Wendy L.lBM~m

Dated: November 12, 2013




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                       Exhibit A
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Douglas, Charles W



From: Bloom, Wendy L.
Sent: Tuesday, March 06, 2012 2:08 AM
To: 'Rice, Joe'
Cc: Calvin Fayard; james.neath@bp.com; Godfrey, Richard C.; Bloomer, Andrew B.; mark.Holstein@bp.com; Baden, John
Subject: Suggestions re PowerPoint-- Wetlands, Coastal, Real Property Sales --Rule 408 Settlement Communication

Joe and Calvin,

Here are some comments re the Power Point as it relates to economic loss and property.

Pg 2 In title “State” should be “States”. Under Medical Class Administrator, “court” and “parties” should be
capitalized. Under “property loss” change “realized sales” to “real property sales” to be consistent w framework title

p. 3   In title “State” should be “States” and “Retain” should be “Retains”

p. 4 Third bullet on left, insert “of” before “all Damage” and insert “$” sign at front of top right bullet. “Flexibility in
Damage Calculations” strikes us inaccurate given there is a set framework to use Perhaps instead “Multiple Options For
Benchmark Year(s) Against Which Damage Will Be Measured”

p. 5    Perhaps confusing to break-out “failed start-up” when it is same framework as “failed business”. The
parenthetical after “Multi-Establishment Businesses” might be edited to read something like “Operations in Multiple
Locations In Class Geography Under One Corporate Umbrella” Perhaps under “Individual/Employee” part a might read
“standard framework” and part b might read “special framework for peddlers / vendors”

Pg 6 Under property damage, perhaps change #1 from “realized sales” to “real property sales.” Referring to coastal &
wetlands as addressing only “impairment of use & enjoyment” is overly narrow as description of purpose of the
compensation. Also ”stigma” might be added.

Pg 7 Should change “Residence” to “Residents” and “Tourist” to “Tourists”

Pg 8 Exclusions are incomplete. Insurance companies, funds, defense contractors & real estate developers should be
added to the list of excluded claims. Also excluded are ““Federal, State and local government and related entity claims.”
Also Claimants who have received GCCF payments and executed a release are excluded.

Pg 9 Reference to “impairment to use and enjoyment” for coastal & wetlands is overly narrow as description of
purpose of compensation. Perhaps change reference from “realized loss on sale” to “real property sales” -- BP does not
concur that a “realized loss” occurred. On #2 “real property fixtures or clean-up” -- framework makes clear clean-up of
real property is addressed in the fixed payment amount not the property damage component.

Pg 19 PSC is showing a screen shot from NAICS.com, which is a for-profit site. We suggest showing the comparable site
from the US Census Bureau. http://www.census.gov/eos/www/naics/

Pg 21 Incorrect to classify “Commercial Fishermen” as in “primary” -- now “Commercial Fishermen” are broken out
separately in Seafood definition because they are compensation pursuant to the Seafood Program.

Pg 24 For the description of commercial or wholesale dealer A, after “and/or Texas for which” add “75% or more” and
resume with text “of the cost of the product….”

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Pg 26 For the description of commercial or wholesale dealer B, after “and/or Texas for which” add “less than 75%”” and
resume with text “of the cost of the product….”

Pg 30 For Zone A, perhaps say “Causation Presumed” rather than that “No One Required To Prove Causation,” and for
Zone B or C, the sStatement is incomplete, but perhaps edit to read “If not in certain seafood or tourism businesses,
proof of causation required.” Or change Zone B or C to read “Causation Proof May Be Required”

Pgs 31-34 The customer mix tests require a 10% decline in “share” of customers, not just a 10% decline.

Also on pg. 31, insert “And” in section I on left side after “Benchmark Period” and before “5% Increase” and add an
“OR” between Section I and Section II. And then in Section II, add an “And” after “by the claimant” and before “An
increase of” and then after “compared to 2010” add “And either” before “1. 10% Decline….” Also, since “Benchmark
Period” is used on pg 31 but not defined, consider moving slide 36 (Benchmark Period) here so it is clear what is meant
and also to get up front the point re flexibility in Benchmark Period.

Also on pg 32: Add “And” after “by the claimant” and before “1. Document” Also edit point 1 to read: 1. Document
Outside Factor that prevented rebound (new competitor, big customer went bankrupt, etc.) And either a. 10% decline
revenue from non-local customers Or b. 10% decline revenue for Zones B or C. Add “Or” between Sections III and IV

Pg. 33 Under Section 1, add “And” after “Benchmark Period” and before “10% Increase” Insert OR between Sections I &
II. in Section II, add word “And” after “by the claimant” and before “An increase” And under Section II, add “And
either” after “compared to 2010” and before “1. 10% Decline….”

Pg 34 Add the word “And” after “months of 2011” and before “1. Document…” Add the words “And either” after
“went Bankrupt, etc.)” and before “a. 10% Decline..” Edit subpart (a) to read “10% Decline Revenue from Non-Local
Customers OR b. 10% Decline in Revenue for Zone A, B or C” And add term “OR” ahead of Section IV.

Pg 35 Add the word “And” after “during 2009” and before “Decline of 7.5%” and insert “OR” after section V and before
Section VI. Add under Section VI “Documentation submitted by Causation Proxy Claimant” to insert “for claimants with
revenue below $75,000.

Pg 36 Add the date “April 20, 2010” as title for the middle blue line. Change Benchmark Period explanation to read
“same months claimant selected for compensation period claimant can choose 2009, 2008-09 or 2007-09” On right side
revised “any 3 months or more” to read “any 3 or more consecutive months”

Pg 37 Delete term “Compensation Period” from step 2 b/c “January-April 2010” is not the Compensation Period.

Pg 38 This section never explains that compensation is based on comparing Variable Profit in 2010 to the Benchmark
Period. It also does not explain the mechanics of Step 1 and Step 2 although perhaps PSC prefers not to include that
detail. p.38    For item 1, edit to add after “any 3” “or more consecutive months”

Pg 39 Is reference to “Seafood Compensation” to the “Seafood Program ?

Pg 41 change to read: “Was in business before 11/1/08” and then “Went out of business after 5/1/10 but before
12/31/11

p.43    Should be “property development and/or “construction” not “contribution” business

p.44    MVIC means “market value of invested capital”

Pg 45 Change last line to read “After 5/1/10” and “Before 12/31/11’


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P. 47 change last bullet to read” “+Sweat Equity (if applicable) with -- Cap o $150,000.

p.48     Under II, it should say “Presumed If Employer Filed Claim in MDL Settlement Process and established causation
or received GCCF compensation offer” change Section II to read “II Employee Causation Standards” & then a bullet “If
Employer Causatoin Presumed”

Pg 50 PSC uses term “Periodic Pay” records and term should be “Pay Period Earnings Documentation” and such
documents are requested of all claimants to the extent available, not only if no tax documents are provided. “Receipts,”
not “recipes”

Pg 51 Does not seem that RTP should be referenced as part of the growth rate. Add to right of black box which reads
“Add Growth Factor” the following: January-April 2010:/January-April Benchmark Year.


p. 52 These examples are wrong in 2 respects. First, the growth factors are supposed to be (1) summed and then (2)
that sum is multiplied by Benchmark Period earnings. Here, PSC has multiplied Benchmark earnings by 1 growth factor
and then multiplied the product of that by a second growth factor. That overinflates the result. Second. it seems the
 math is wrong. In example, last row should read: 24,000 x 2% = 480.00 and then total should be $26,880.000” And
then last row of example 2 should read “21,000 x 2% = $420” and then total should be “21,000.00” Example 3 should be
edited as follows: $21,000 x 4.5%=$21,945 and “$21,000 x 2% = $420 for a total of $22,365. “ .

Pg 53 add $ before 2000.

p.55    Should read “not voluntarily unemployed”

Pg 56 Seems subsistence claims slide should reference the interview process.

Pg. 59: Perhaps change title on slide to read “Real Property Sales” -- framework does not reference term “realized loss”
which is title in the slide. Also, framework states sale must have closed “during the time period April 21, 2010 to
December 31, 2010” whereas this slide indicates incorrectly in first line that closing must have occurred “between
4/20/10 and 1/1/11.” Also, slide then refers incorrectly in two places to sales closing by “12/31/11” when date should
be on or before “12/31/10.”

Pg 60: January 1, 2011 should be December 31, 2010

Pg 61: Typo in item 1 “supplement” should be “supplemented.” In item 1 perhaps delete “all currently available data” or
at least insert “all currently available NRD data” Typo in item 2 “The” should be “the.”

Pg 62: The allocation is based on 255 days (from April 20, 2010 to Dec. 31, 2010), not 265. In the italicized fn insert the
word “average” between “highest” and “Property”

Pg 63: The fn “using NRDA assessments lines” should be deleted. For parcels with only an NRD assessment finding
presence of oil, and no SCAT linear footage, parcel receives the minimum. Perhaps reference minimum. Perhaps have
a title above the $25,000 line which reads: Payments For Parcels On Which The Presence Of Oil Was Reported By SCAT
or NRDA” and then under $10,000 and above $4,500 insert a title “Payments For Parcels Along The SCAT Line But On
Which No Presence Of Oil Was Reported.”

Pg 67 Perhaps change bullet to read “No compensation for losses due to moratorium, although rig suppliers can be
compensated for losses due to spill related business interruption unrelated to moratorium.


Wendy

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Wendy Bloom | Kirkland & Ellis LLP
300 North LaSalle Street
Chicago, IL 60654
(312) 862-2343 DIRECT | (312) 862-2200 FAX
wendy.bloom@kirkland.com




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       PSC and BP
       P
       Proposed
              d Settlement
                S ttl    t Class
                           Cl Action
                                 A ti



            March 5, 2012



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                   Class Wide Benefits

   Local Management                                 57,000,000 Marketing/Promotion
   Claimant Friendly Processing                     Flexibility in Damage Calculations
   F ll Di
    Full Disclosure
             l      odd allll D
                              Damage                 Growth Rate for Everyone
    Calculations
                                                     Business and Individual
   Right to appeal
   Court is Final Decision Maker
   Processing Starts Immediately

                                                                                       2
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              Economic Class

Claims Made Process
    Geographical Location
    Nexus to Oil
    Loss
     L
    Durational Risk

                                                                            3
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                 Business Economic Loss
                       Framework
Compares 2010 to either:
     a) 2009
         009
     b) Average of 2008 & 2009
     c) Average of 2007, 2008 & 2009

  1. Claimant may select any 3 months or more between May and December as
     damaged period.
  2. Must use same months in Benchmark and 2010 for Economic Loss
  3. Every Business Economic Loss has
       a) A claimant specific growth rate:
         - Claimants actual upp to 10%,, never lower than -2.0%
       b) A Gulf Coast Business Rate of +2.0%

                                                                                      4
